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Fill in this information to identify the case:

Debtor 1              Isabel Fernandez

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Southern                 District of Florida
                                                                             (State)

Case number           22-12474-LMI



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                  12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:             U.S. BANK NATIONAL ASSOCIATION, as                  Court claim no. (if known):         2
                              Trustee for Structured Asset Securities
                              Corporation Mortgage Pass-Through
                              Certificates, Series 2007-BC3

Last four digits of any number you               XXXXXX3608                       Date of payment change:
use to identify the debtor’s account:                                             Must be at least 21 days after date of               4/1/2023
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any              $1,539.40

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:         $ 828.19*                                      New escrow payment :            $ 1,043.92

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                        %                             New interest rate:           %

             Current principal and interest payment:       $ _________                    New principal and interest payment:           $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




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 Debtor 1            Isabel Fernandez                                                                Case number (if known) 22-12474-LMI
                    First Name Middle Name       Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/A. Michelle Hart Ippoliti                                                                       Date      02/21/2023
     Signature

Print:         A. Michelle                                                  Hart Ippoliti               Title    Authorized Agent for Creditor
               First Name              Middle Name                          Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                         GA                             30076
               City                            State                          ZIP Code

Contact phone      678-281-6537                                                                         Email     Michelle.HartIppoliti@mccalla.com
***If the Debtor and lender are currently participating in the Mortgage Modification Mediation Program, this Notice of Payment Change is for notice
purposes only and will be abated pending the outcome of the mediation. If the Debtor does not modify the mortgage, the notices will be effective
pursuant to the Notice of Payment Change.

*The ‘current escrow payment’ in the attached Escrow Statement will not match the previously filed NOPC or POC as this escrow payment is based off the contractual
due date. The current escrow payment included in this Notice of Payment Change is based off the previously filed court record. This will not have any impact on the
borrower.




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                                                       Bankruptcy Case No.: 22-12474-LMI
 In Re:                                                Chapter:             13
          Isabel Fernandez                             Judge:               Laurel M. Isicoff

                                   CERTIFICATE OF SERVICE

       I, A. Michelle Hart Ippoliti, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama
Road, Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Isabel Fernandez
474 East 10 Street
Hialeah, FL 33010

Ricardo Corona, Esq.                           (served via ECF Notification)
Corona Law Firm PA
6700 SW 38 Street
Miami, FL 33155

Nancy K. Neidich, Trustee                      (served via ECF Notification)
P.O. Box 279806
Miramar, FL 33027

US Trustee                                     (served via ECF Notification)
Office of the US Trustee
51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       02/23/2023       By:    /s/A. Michelle Hart Ippoliti
                    (date)                 A. Michelle Hart Ippoliti
                                           Authorized Agent for Creditor
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